Case 2:11-cr-20129-RHC-EAS ECF No. 546, PageID.1998 Filed 02/22/13 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,                   Case No: 11-20129-27-DT
v.

CHRISTOPHER RAYMOND COOK,

                Defendant.
_________________________/

                                  ORDER REVOKING BOND

       This matter is before the court for review of the defendant’s violations of his

conditions of pretrial release. A bond revocation hearing was held on February 4, 2013

and established that the defendant has tested positive for marijuana use three times

since July 24, 2012, and has submitted three diluted urine specimens, with the last

positive report on February 4, 2013. The acquisition, possession, and use of marijuana

is contrary to federal law and, concomitantly, the bond condition that prohibits the

violation of any federal, state, or local law. The defendant’s dilution of urine samples on

several occasions indicates his intent to deceive the court’s pretrial services officer.

That officer had warned the defendant that his continued use of marijuana would result

in a hearing and possible bond revocation. It is clear that the defendant effectively

ignored those warnings. Accordingly, and for the reasons also stated on the record,

       IT IS ORDERED that the defendant’s bond is REVOKED, and the defendant is

 remanded to the custody of the U.S. Marshal pending trial.


                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE
Case 2:11-cr-20129-RHC-EAS ECF No. 546, PageID.1999 Filed 02/22/13 Page 2 of 2




Dated: February 22, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, February 22, 2013, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
